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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

FRANK W. RAMSEY, JR., et al.,     :             CIVIL ACTION NO. 1:16-CV-1879
                                  :
            Plaintiffs            :             (Chief Judge Conner)
                                  :
        v.                        :
                                  :
BUCHANAN AUTO PARK, INC., et al., :
                                  :
            Defendants            :

                                        ORDER

      AND NOW, this 18th day of July, 2018, it is hereby ORDERED that the

pretrial and trial schedule in the above-captioned action is SUSPENDED and the

pretrial conference presently scheduled for August 22, 2018 is CANCELLED

pending resolution of defendant FCA US LLC’s motion (Doc. 42) for summary

judgment and FCA US LLC’s motions (Docs. 49, 51, 53, 55) in limine. The court

shall issue a revised pretrial and trial schedule, if necessary, following disposition of

said motions.



                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner, Chief Judge
                                         United States District Court
                                         Middle District of Pennsylvania
